
80 So. 3d 1140 (2012)
Anson A. TAYLOR, Appellant,
v.
FLORIDA DEPARTMENT OF REVENUE, o/b/o, Misty A. SMITH, Appellee.
No. 1D11-6417.
District Court of Appeal of Florida, First District.
March 6, 2012.
Anson A. Taylor, pro se, Appellant.
Pamela Jo Bondi, Attorney General, and Toni C. Bernstein, Assistant Attorney General, Tallahassee, for Appellee.
PER CURIAM.
We treat the pro se notice of appeal in this case as invoking the court's jurisdiction to review the Final Order of Paternity and Administrative Support and the Income Deduction Order entered in association therewith. In accordance with appellee's concession of error, these orders are reversed, and the matter is remanded for further proceedings.
WETHERELL, MARSTILLER, and RAY, JJ., concur.
